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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE

OXFORD ROUND TABLE, INC.                                                            PLAINTIFF


v.                                                       CIVIL ACTION NO: 3:07CV-330-R


SLOAN MAHONE                                                                      DEFENDANT

           MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION

         COMES NOW, Defendant, Sloan Mahone, by and through counsel, and files her Motion

to Dismiss for Lack of Personal Jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2). This Motion is

made on the grounds that plaintiff Oxford Round Table, Inc. has not and cannot prove by a

preponderance of the evidence that defendant Sloan Mahone is subject to personal jurisdiction in

the state of Kentucky. Sloan Mahone has never resided in Kentucky or transacted business in

Kentucky. Sloan Mahone has not committed any tortuous act within Kentucky or committed

any act which would submit her to the jurisdiction of the courts of Kentucky. In support of this

Motion, attached and incorporated by reference is an accompanying Memorandum In Support of

Defendant’s Motion to Dismiss for Lack of Personal Jurisdiction.

Dated: July 30, 2007

                                             Respectfully submitted,

                                             Hon. Charles W. Chapman
                                             THE LAKIN LAW FIRM, P.C.
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                                             (Pro Hac Vice Motion Pending)

                                             Counsel for Defendant




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                                  Local Counsel for Defendant




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                                    CERTIFICATE OF FILING

       I hereby certify that on July 30, 2007, I electronically filed Defendant’s Motion to

Dismiss for Lack of Personal Jurisdiction and Memorandum in Support of Pursuant to F.R.C.P.

Rule 12(b)(2) with the Clerk of Court using the CM/ECF system, which will send notification of

such filings(s) to the following:


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